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             IN THE UNITED STATES DISTRICT COURT FOR THE
                     EASTERN DISTRICT OF VIRGINIA

                          Alexandria Division

 UNITED STATES,                      )
                                     )
                                     )
              v.                     )       1:17cr82 (JCC)
                                     )
                                     )
 MUSA KUMARA,                        )
                                     )
       Defendant.                    )

                   M E M O R A N D U M    O P I N I O N

           This matter is before the Court on Defendant Musa

Kamara’s (“Defendant”) Motion for a Bill of Particulars.           [Dkt.

39.]   Defendant’s Motion to Suppress Evidence [Dkt. 51] and Motion

for Discovery [Dkt. 50] are also before the Court.          For the

following reasons, the Court will deny the motion for a bill of

particulars.    The Court will also deny Defendant’s motion to

suppress and his motion for discovery.

                               I. Background

           On April 13, 2017, a grand jury returned an indictment

that charged Defendant with conspiracy to commit wire and bank

fraud and conspiracy to commit access device fraud.          Indictment

[Dkt. 19].    On May 11, 2017, the grand jury returned a superseding

indictment that added ten substantive counts to the two conspiracy

counts already alleged, including two counts of Aggravated


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Identity Theft against Defendant.            Superseding Indictment [Dkt.

47].     The superseding indictment alleges that between January 2014

and April 2017, Defendant conspired with others to purchase stolen

credit card numbers online, encode those numbers onto physical

cards, and use those cards to make fraudulent purchases.              See

Superseding Indictment [Dkt. 47], ¶ 11.            More specifically, the

superseding indictment alleges that Defendant received emails from

a co-conspirator on at least two occasions with stolen credit card

numbers, exchanged text messages with two different co-

conspirators regarding the use of re-encoded cards, and possessed

at least three re-encoded cards when he was arrested in

Washington, D.C.       Id., ¶ 12.    In addition, the superseding

indictment alleges that Defendant unlawfully transferred,

possessed, or used L.L.’s Capital One payment card ending in 8856

and S.E.’s Citibank payment card ending in 5175.             Id., ¶ 31.

              With a few exceptions, 1 both parties have filed pleadings

and responsive materials for all three motions.             Oral argument was

held on May 25, 2017.        These matters are now ripe for disposition.

                               II. Legal Standard

A.      Motion for a Bill of Particulars

              Under Federal Rule of Criminal Procedure 7(f), the court

“may direct the government to file a bill of particulars.”               Fed.


1
  Defendant’s reply brief for his Motion for Discovery, which was due on May 22,
2017, was not filed until May 23, 2017. Pursuant to Local Criminal Rule 47(F),
Defendant’s reply was untimely and was therefore not considered by this Court.

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Rule Crim. P. 7(f).        The decision to grant or deny a motion for a

bill of particulars rests with the sound discretion of the trial

court.      United States v. Anderson, 481 F.2d 685, 690 (4th Cir.

1973).      The purpose of a bill of particulars is to “supply any

essential detail which may have been omitted from the indictment,”

id. at 691, but the Government need not “provide detailed

disclosure of the government’s evidence in advance of trial,”

United States v. Automated Med. Labs., Inc., 770 F.2d 399, 406

(4th Cir. 1985).       The ultimate test is whether “deprivation of the

information sought will render the defendant subject to unfair

surprise.”      United States v. Sampson, 448 F. Supp. 2d 692, 696

(E.D. Va. 2006) (citing United States v. Fletcher, 74 F.3d 49, 53

(4th Cir. 1996)).

B.      Motion to Suppress

              The Fourth Amendment requires that all searches and

seizures be supported by a warrant based on probable cause.               See

Katz v. United States, 389 U.S. 347, 357 (1967).             Probable cause

“is a fluid concept-turning on the assessment of probabilities in

particular factual contexts-not readily, or even usefully, reduced

to a neat set of legal rules.”          Illinois v. Gates, 462 U.S. 213,

232 (1983).      Probable cause determinations are based on the

“totality of the circumstances” of each case.            Maryland v.

Pringle, 540 U.S. 366, 371 (2003).           Probable cause is found “where

the known facts and circumstances are sufficient to warrant a man

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of reasonable prudence in the belief that contraband or evidence

of a crime will be found.”         Ornelas v. United States, 517 U.S.

690, 696 (1996).

              A court reviewing a magistrate’s determination of

probable cause does not assess the existence of probable cause de

novo.     Instead, the court’s task is to ascertain whether the

magistrate had a substantial basis for concluding that probable

cause existed.       Gates, 462 U.S. at 238–39.       In doing so, courts

are to give the magistrate’s determination “great deference.”               Id.

at 236.      In addition, courts should not invalidate warrants by

interpreting affidavits in a “hypertechnical, rather than a

commonsense, manner.”        Id.; see also United States v. Gary, 420 F.

Supp. 2d 470, 476 (E.D. Va. 2006).           To assess a magistrate’s

finding of probable cause, a reviewing court may look only at the

evidence provided to the magistrate, as well as any reasonable

inferences that may be drawn therefrom.           Gates, 462 U.S. at 235.

C.      Motion for Discovery

              Federal Rule of Criminal Procedure 16 states that “the

government must provide to the defendant” a list of items prior to

trial, including: (1) defendant’s oral statements; (2) defendant’s

written or recorded statements; (3) defendant’s prior criminal

record; (4) any documents or objects that may be material to the

defense, may be used in the Government’s case-in-chief, or may

belong to the defendant; (5) the results of any examinations and

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tests that the Government has in its possession or knows exist and

that may be material to the defense; and (6) a written summary of

potential testimony from expert witnesses.         See Fed. R. Crim. P.

16(a)(1)(A)-(G).    It also makes clear that “[a]t any time the

court may, for good cause, deny, restrict, or defer discovery or

inspection, or grant other appropriate relief.”          Id. 16(d)(1).

           In addition to the Federal Rules, “due process requires

that the Government disclose to the accused any favorable evidence

in its possession that is material to guilt or punishment.”

United States v. Beckford, 962 F. Supp. 780, 785 (E.D. Va. 1997)

(citing Brady v. Maryland, 373 U.S. 83, 87 (1963)).          Favorable

evidence includes both exculpatory evidence and evidence that may

be used to impeach Government witnesses.        See United States

v. Bagley, 473 U.S. 667, 676 (1985); see also Giglio v. United

States, 405 U.S. 150, 154 (1972).         Such evidence is material “if

there is a reasonable probability that, had the evidence been

disclosed to the defense, the result of the proceeding would have

been different.”    Bagley, 473 U.S. at 682.

           In fulfilling its Brady obligations, “the Government

must actively search out the requested material in its files and

in the files of related agencies reasonably expected to have

possession of such information.”       Beckford, 962 F. Supp. at 785

(citing Kyles v. Whitley, 514 U.S. 419 (1995); United States v.

Agurs, 427 U.S. 97 (1976) (holding that a defendant's failure to

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request favorable evidence did not leave the Government free of

all obligation to disclose Brady material)).            “However, the

prosecutor is not required to deliver his entire file to defense

counsel, but only to disclose evidence favorable to the accused

that, if suppressed, would deprive the defendant of a fair trial.”

Id. (citing Bagley, 473 U.S. at 675).

                                  III. Analysis

A.      Motion for a Bill of Particulars

              Defendant now asks the Court to order the Government to

produce the following particulars.           First, Defendant requests “[a]

description of each alleged overt act of the accused, and the

location of and date alleged for each overt act.” 2            Def.’s Mot. for

Bill of Particulars [Dkt. 39] at 1.           Second, Defendant seeks

“[t]he identity of each federal district in which the government

intends to attempt to prove that any act of the claimed conspiracy

allegedly occurred, as well as each act alleged to have occurred

in each of said districts.”         Id. at 2.    Third, Defendant requests

“[t]he amount of loss the prosecution intends to claim is

attributable to the accused.”          Id.

              The Court first considers Defendant’s request for a more

detailed description of each alleged overt act.             The Government

argues that both the original and superseding indictments provide

sufficient information about Defendant’s alleged overt acts.
2
  The original indictment included only one overt act alleged against Defendant
in paragraph 5(a). Def.’s Mot. [Dkt. 39] at 1.

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Gov’t Opp. [Dkt. 47] at 3.      For example, the Government points out

that it has provided specific dates and times, down to the second,

during which Defendant allegedly sent text messages to his co-

conspirators about the use of re-encoded cards.          Id. at 4; see

also Superseding Indictment, ¶ 12(b).        The Government also

contends that the superseding indictment makes clear that

Defendant was arrested in Washington, D.C., on April 23, 2017, at

which time he had at least three re-encoded cards in his

possession.   Opp. at 4; see also Superseding Indictment, ¶ 12(i).

           Given these details, the Court finds that the

Superseding Indictment provides Defendant with more than enough

information about the alleged overt acts to adequately prepare a

defense for trial.     No further specificity is required.        See

United States v. Kim, 2012 WL 5879830, at *2 (E.D. Va. Nov. 20,

2012) (“A defendant is not entitled to have the Government specify

the details of its proof of acts or allegations set forth in the

indictment, nor is he entitled to have the Government furnish the

precise manner in which the crimes charged were committed.”).

Accordingly, Defendant’s request for more information on his

alleged overt acts is denied.

           Next, the Court turns to Defendant’s request for the

Government to identify each federal district and the acts alleged

to have occurred therein.      The superseding indictment already

alleges that the conspiracy occurred in “the Eastern District of

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Virginia and elsewhere.” 3       Gov’t Opp. at 2; see also Superseding

Indictment, ¶¶ 8, 14.       Previously, the Fourth Circuit has held

that “an indictment that merely charge[s] the crime as having been

committed within the federal district is sufficient.”             United

States v. Lane, No. 2:14-CR-139, 2014 WL 7157623, at *3 (E.D. Va.

Dec. 12, 2014) (citing Burk v. United States, 179 F.2d 305 (4th

Cir. 1950) (per curiam)).        Thus, the Court will deny Defendant’s

request for additional information on each federal district

involved in the alleged acts.

             Finally, the Court finds no merit in Defendant’s request

for the Government to identify the amount of the loss attributable

to him.     To begin, the Government has already given Defendant at

least some idea of what the total losses may be, as the

superseding indictment includes a forfeiture notice regarding

$224,044.93 in fraudulent proceeds.          Superseding Indictment, ¶ 33.

At the same time, as the Government points out, it is not required

to prove the amount of money attributable to Defendant as an

element of any of the charged offenses.          Gov’t Opp. at 4 n.1.

Thus, this type of information does not qualify as vital to

Defendant’s ability to prepare for trial.           The Court therefore

denies Defendant’s request for the amount of the losses

attributable to him.

3
  One only has to read the superseding indictment to discover that it also lists
alleged overt acts that took place in Ohio; Arlington, Virginia; Germantown,
Maryland; Warrenton, Virginia; Portland, Oregon; Marietta, Georgia; Beltsville,
Maryland; and Washington, D.C. Superseding Indictment, ¶¶ 12(b), (e)-(i).

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B.      Motion to Suppress 4

              On October 16, 2014, Patrolman First Class (“PFC”)

Brandon J. Dodrill, a member of the police department in

Summersville, West Virginia, received a call from a Family Dollar

store regarding the attempted use of a stolen credit card.               A

Family Dollar employee stated that an individual had tried to

purchase a $100 prepaid card and then fled when the card used for

payment was flagged as stolen.          The employee provided a

description of the car, its license plate, and the fact that it

was heading east toward Route 19.            The employee also provided a

description of the suspect.

              PFC Dodrill spotted a vehicle that appeared to match the

description provided by the Family Dollar store employee.              He

stopped the vehicle and encountered two individuals: Defendant,

who was driving, and a passenger.            Defendant matched the

description of the suspect that the Dollar Store employee had

given police, with the exception of a striped sweatshirt that was

found in the vehicle.




4
  The Court includes several facts surrounding Defendant’s arrest in West
Virginia as a way to provide additional context for Defendant’s motion to
suppress. These facts are taken from the Government’s Opposition [Dkt. 58],
which relies upon Summersville Police Department records, including an incident
report, a criminal complaint, and two search warrants. At oral argument,
Defendant stated that he does not dispute these facts, but thinks they are
irrelevant. Of course, in accordance with the proper standard of review
outlined above, this Court’s analysis only considered those facts included in
the four corners of both search warrant affidavits, as well as any reasonable
inferences that can be drawn therefrom.

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            Initially, Defendant consented to a search of the

vehicle.    Law enforcement recovered fifteen prepaid payment cards,

some of which were still in their original packaging.          Law

enforcement also determined that the vehicle had been rented to a

“Courtney Thompson” on September 17, 2014, and was overdue for

return.    Law enforcement observed no luggage in the vehicle.

During the course of the search, Defendant and his passenger

admitted to PFC Dodrill that they had traveled to West Virginia

from Washington, D.C., but stated that they had no specific travel

plans.    They also told PFC Dodrill that they had attempted to use

the stolen credit card, but claimed that they had found it at a

gas station.    At some point, Defendant withdrew consent for the

search.

            PFC Dodrill took Defendant and his passenger to the

Family Dollar store, where the employee identified Defendant as

the individual who had attempted to use the stolen payment card.

As a result, PFC Dodrill arrested Defendant and his passenger for

allegedly committing three state crimes.        He then seized incident

to their arrest a Nokia cell phone from Defendant’s passenger and

a black Apple iPhone from Defendant.

            On October 16, 2014, PFC Dodrill obtained a search

warrant from a magistrate judge in Nicholas County, West Virginia,

to search both of the cell phones seized during the traffic stop.

On October 20, 2014, PFC Dodrill obtained a second search warrant

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to search the same two phones, as well as a third white Apple

iPhone. 5    The facts in both affidavits submitted in support of the

search warrants are substantially similar.

             Pursuant to the two warrants, law enforcement searched

all three cell phones.        As relevant here, the search of the black

Apple iPhone yielded, inter alia, text messages with pictures of

payment cards, an email with links to eBay for magnetic card strip

readers and writers, and emails with payment card numbers

belonging to other individuals.

             Defendant now moves to suppress all evidence found

during the search of his black Apple iPhone on the grounds that:

(1) the search warrant lacked probable cause; and (2) as a result,

the warrant was so facially deficient that the good faith

exception does not apply.        Def.’s Mot. to Suppress [Dkt. 51],

¶¶ 4-5.     The Court will address each of these arguments in turn.

             First, the affidavits submitted in support of the two

search warrants in this case contain sufficient facts to support a

finding of probable cause.         As the Government correctly concedes,

neither affidavit delineates “an express nexus between the seized

cellphones and the criminal activity at issue.”            Gov’t Opp. [Dkt.

58] at 7.      Contrary to Defendant’s claim, however, PFC Dodrill’s

failure to include these facts does not, on its own, necessarily

5
  Defendant’s motion includes both the black and white Apple iPhones. However,
because the Government does not currently have the white iPhone in its
possession, nor intend to introduce at trial any data that may be on that
device, Defendant’s motion with respect to the white iPhone is denied as moot.

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preclude any finding of probable cause.        That is because, in

addition to considering the facts alleged in an affidavit, a

magistrate also has the “authority . . . to draw such reasonable

inferences as he will from the material supplied to him by

applicants for a warrant.”      Gates, 462 U.S. at 235.

           In the instant case, the affidavits established that

Defendant, who was driving with another individual in a car rented

in a third person’s name, matched the description of an individual

who had attempted to use a stolen payment card at a Family Dollar

store.   The affidavits further stated that Defendant and his

passenger told the officer that they were from Washington, D.C.,

but had no travel plans or luggage in the car.         Moreover, the

affidavits established that a search of the car revealed fifteen

gift cards, as well as receipts from multiple states.          Finally,

PFC Dodrill stated in the affidavit that, based on his training

and experience, a “current trend” in credit card fraud is to

travel to multiple jurisdictions and use stolen payment cards to

purchase gift cards.

           Based on these facts, it was reasonable for the

magistrate judge to infer that Defendant was involved in a

criminal conspiracy to commit credit card fraud.         It was also

reasonable for the magistrate judge to infer that Defendant may

have used his cell phone to communicate with his co-conspirators.

Accordingly, the Court finds that the magistrate judge made a

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commonsense determination that Defendant’s black Apple iPhone had

a sufficient relationship to the crimes charged to permit a search

of its contents.

          In any event, even if the warrants at issue here lacked

probable cause to support the search of Defendant’s cell phone,

the resulting search would still be permissible under the good

faith exception established in United States v. Leon, 468 U.S.

897, 913 (1984).    Pursuant to the good faith exception, a court

should not suppress the fruits of a search conducted under

authority of a search warrant unless “a reasonably well trained

officer would have known that the search was illegal despite the

magistrate’s authorization.”      Leon, 468 U.S. at 922 n.23.       The

Supreme Court has identified four situations in which an officer’s

reliance on a search warrant would not be objectively reasonable:

          (1) the magistrate was misled by information in an
          affidavit that the officer knew was false or would have
          known was false except for the officer’s reckless
          disregard of the truth;

          (2) the magistrate wholly abandoned his detached and
          neutral judicial role;

          (3) the warrant was based on an affidavit that was so
          lacking in indicia of probable cause as to render
          official belief in its existence entirely unreasonable;
          or

          (4) the warrant was so facially deficient, by failing to
          particularize the place to be searched or the things to
          be seized that the executing officers cannot reasonably
          presume it to be valid.




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United States v. Hyppolite, 65 F.3d 1151, 1156 (4th Cir. 1995)

(quoting Leon, 468 U.S. at 923).

            Only the third exemption applies to the present case.

However, Defendant’s argument with respect to this exemption is

meritless.    As described above, the facts in the affidavits

connected Defendant to a particular criminal act that took place

in West Virginia, as well as to the possibility that he was a

member of a credit card fraud conspiracy.        The affidavits also

established that Defendant was driving a car rented in a third

party’s name with another passenger, both of whom were from

Washington, D.C., but who had no travel plans or luggage in the

car.    It was reasonable for the magistrate judge to infer, based

on these facts, that Defendant had used his cell phone to plan and

communicate the charged crimes with his co-conspirators.           Thus,

the undersigned cannot conclude, as Defendant suggests, that the

warrant was so lacking in indicia of probable cause as to render

official belief in its existence entirely unreasonable.

C.     Motion for Discovery

            Finally, Defendant moves the Court to direct the

Government to provide him with certain discovery.          Def.’s Mot. for

Discovery [Dkt. 50] at 1.     Specifically, Defendant requests the

following information: (1) the prior criminal record, whether

state or federal, of any potential Government witnesses; (2) any

and all Government surveillance data, recordings, or computer

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data, including any data generated by license plate reader

systems; (3) any documents relating to any payments provided to

any Government witnesses or cooperators; (4) the names, addresses,

and agencies of any experts contacted or consulted by the

Government, including a list of all experts who will testify at

trial; (5) all mental and psychiatric records of any Government

witnesses that may relate to a witness’s ability to be truthful;

(6) whether any charges were dropped against individuals who

provided information to the investigation; (7) any information

regarding whether Government witnesses have a history of drug use;

(8) the Reports of Investigation on Defendant; and (9) anything

seized from Defendant or his alleged co-conspirators.          Id., ¶¶ 1-

9.

          As a preliminary matter, the Government points out that

the parties have failed to reach an agreement regarding the

proposed protective order submitted to this Court on May 3, 2017.

Gov’t Opp. [Dkt. 55], ¶ 1.      This proposed order requires defense

counsel to return or destroy any victims’ personally identifying

information (“PII”) no later than 30 days after the case concludes

and the last appeal is final.      Id., ¶ 4.    According to the

Government, Defendant’s counsel objects to this timeline, claiming

that he must preserve the victims’ PII for at least up to ten




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years. 6    Id.   The Government has notified Defendant that it will

not provide an initial discovery production of approximately

81,000 records until after an agreement has been reached regarding

this protective order.        Id., ¶ 3.      Because Defendant failed to

disclose this dispute to the Court, the Government asserts that

Defendant’s motion amounts to nothing more than a request that the

Court order discovery to be produced.            Id., ¶ 5.   For that reason,

the Government asks this Court to enter the proposed discovery and

protective orders and to deny Defendant’s motion as moot.              Id.

             Here, as the Government points out, Defendant failed to

provide the Court with an alternate discovery or protective order

in his initial motion. 7       Defendant also failed to offer a

legitimate reason as to why he needs to keep the victims’ PII for

so many years.      Because Defendant’s specific discovery requests

are already addressed by the broad language of the Government’s

proposed discovery order, as well as because the Government has

offered to make its initial discovery production available as soon

as an agreement regarding the protective order is reached, the

Court will enter the Government’s proposed discovery and

protective orders today.        Accordingly, Defendant’s motion for

discovery is denied as moot.


6
  At oral argument, defense counsel stated that he would like to keep these
records indefinitely, presumably to be prepared for any eventuality that could
arise, including a judge asking him in the future for copies of discovery.
7
  Defendant did include both proposed orders as attachments to his reply brief.
As noted above, however, this reply brief was untimely under the Local Rules.

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                              IV. Conclusion

          For the foregoing reasons, the Court will deny

Defendant’s Motion for a Bill of Particulars in its entirety.            The

Court will also deny his Motion to Suppress.         Finally, the Court

will deny Defendant’s Motion for Discovery.

          An appropriate Order shall issue.




                                               /s/
May 30, 2017                            James C. Cacheris
Alexandria, Virginia            UNITED STATES DISTRICT COURT JUDGE




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